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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                             CRIMINAL ACTION



VERSUS                                               NO: 13-286



KANUBHAI PATEL                                       SECTION: R

                         ORDER AND REASONS

       Defendant Kanubhai Patel moves to amend certain conditions of his

pretrial release. Specifically, Patel seeks to move to San Antonio, Texas prior

to his February 24, 2016 sentencing. He also requests discontinuation of

electronic monitoring. The Government does not object to Patel's move, but

contends that the electronic monitoring condition should remain in place. For

the following reasons, the Court DENIES Patel's motion.



I.     BACKGROUND

       Patel was indicted by a grand jury on one count of sex trafficking by

force, fraud, or coercion, in violation of 18 U.S.C. § 1591(a)(2) and (b)(1). On

October 16, 2014, Patel appeared at an arraignment before a Magistrate Judge,
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who released Patel pending trial, subject to several conditions.1 The conditions

included Patel's submitting to pretrial supervision and electronic monitoring,

limiting his residence to the Eastern District of Louisiana, remaining on home

detention, and posting a $50,000 secured bond.2 On July 1, 2015, Patel

pleaded guilty to a superseding bill of information, which charged him with

benefitting financially from trafficking in persons, in violation of 18 U.S.C. §

1593A.3 At Patel's rearraignment, the Court ruled that he be released on bond

pending sentencing, subject to the same conditions that the Magistrate Judge

imposed at the arraignment.4 Sentencing is scheduled for February 24, 2016.

      Patel now requests that the Court modify the conditions of his release to

permit him to move to San Antonio, Texas, where he wishes to spend time

with his wife and children prior to sentencing.5 Patel also asks the Court to

remove the electronic monitoring condition of his release.6 The Government

does not object to Patel moving out of the Eastern District of Louisiana, but it



      1
          R. Doc. 131.
      2
          R. Doc. 130.
      3
          R. Doc. 224.
      4
          Id.
      5
          R. Doc. 241.
      6
          Id.

                                       2
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opposes discontinuation of electronic monitoring.7



II.     DISCUSSION

        At Patel's October 16, 2014 arraignment, the Magistrate Judge ordered

that he be released pending trial subject to several conditions, including that

he remain on home detention in the Eastern District of Louisiana and that he

submit to electronic monitoring. On July 1, 2015, Patel pleaded guilty to one

count of benefitting financially from trafficking in persons, a crime that carries

a maximum sentence of up to five years imprisonment. See 18 U.S.C. § 1593A.

Though the Court permitted Patel to be released on bond pending sentencing,

it ordered that he comply with each of the terms of supervision originally

imposed by the Magistrate Judge.

        Patel now asks the Court to reconsider this ruling. Though he has been

convicted of a serious offense that carries a potential term of imprisonment,

Patel seeks to have his release terms modified to permit him to leave this

jurisdiction and discontinue electronic monitoring. Patel has not identified

any change in circumstances that might support this extraordinary request.

Rather, he relies primarily on his history of compliance with the terms of his



        7
            R. Doc. 248.

                                        3
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release, noting that he "has been on bond subject to home confinement for a

year without a single violation of his bond."8

      In determining matters of presentencing detention and release "courts

routinely discount compliance with pretrial release conditions." United States

v. Adenuga, No. 3:12-CR-313-P, 2014 WL 349568, at *5 (N.D. Tex. Jan. 31,

2014). Conviction displaces the presumption of innocence that a defendant

enjoyed prior to trial or guilty plea. This change in legal status removes the

possibility that the defendant might avoid criminal punishment--subject to

appeal--which increases his incentive to flee.         See United States v.

Manso-Portes, 838 F.2d 889, 889 (7th Cir. 1987) (noting that "once the

defendants have been convicted, their incentive to show up is reduced because

there is no longer a possibility of obtaining vindication"); United States v.

Garcia Garcia, 727 F. Supp. 318, 320 (N.D. Tex. 1989) (concluding that once

a defendant has been convicted "[t]he hope for leniency or victory at trial no

longer exists to counterbalance the incentive to avoid criminal punishment by

fleeing the jurisdiction"). Here, Patel has pleaded guilty to one count of

benefitting financially from trafficking in persons, in violation of 18 U.S.C. §

1593A, so criminal punishment is certain. Moreover, Patel's conviction



      8
          R. Doc. 241 at 1.

                                       4
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subjects him to the possibility of a substantial prison sentence, which further

increases his incentive to flee. For these reasons, the Court finds that Patel's

history of compliance with his release terms, though commendable, does not

warrant the modification of conditions that he seeks. Patel's motion is denied.



III. CONCLUSION

      For the foregoing reasons, defendant's Motion to Amend Conditions of

Bond is DENIED.



      New Orleans, Louisiana, this ___
                                   7th day of January, 2016.



               ________________________________
                         SARAH S. VANCE
                  UNITED STATES DISTRICT JUDGE




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